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bt Chaim Levilev DH *:8/29/2 4:46PMayy
Debtor 1 First Name Middie Name Last Name : ate: ‘B/29/2¢ 024 2. 46P ia: email :
Debtor 2 - 7

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptcy Court for the:____———_ District of

Case number 6:24-bk-03843-LVV

(known) Q) Check if this is an

amended filing

Official Form 106H
Schedule H: Your Codebtors a . 4215

- Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. If two married. people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known). Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spouse as a codebtor.)
w No

UI Yes

2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and territories include
Arizona, California, \daho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

mW No. Go fo line 3.
QI Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?

QC No

Q Yes. In which community state or territory did you live? . Fill in the name and current address of that person.

Name ‘of your spouse, former spouse, or legal equivalent

Number Street

City : . State : ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G). Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

() Schedule D, line

Name
UO. Schedule E/F, line
Number Street . Ud). Schedule G, line
City : . State ZIP Code
3.2] , oe
{) Schedule D, line
Name .
Q) Schedule E/F, line
Number Street UO) Schedule G, line -
~_City State ZIP Code .
3.3) oo oe -
() Schedule D, line -
Name |
OQ) Schedule E/F, line
Number Street UO) Schedule G, line
City State ZIP Code

Official Form 106H - Schedule H: Your Codebtors : page 1 of
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Debtor1 - Chaim Levilev

First Name Middle Name

Last Name

Case number inom 8:24-bk-03843-LVV

BE ascisona Page to List More Codebtors

Your codebtor
Q) Schedule D, line
Name TT
OU) Schedule E/F, line
Number Street U) Schedule G, line
City State ZIP Code
P|
Q) Schedule D, line
Name :
Q) Schedule E/F, line
Number Street C) Schedule G, line
City State ZIP Code
BS
C) Schedule D, line
Name
QQ Schedule E/F, line
Number Street QO) Schedule G, line
City State ZIP Code
|
tO OQ) Schedule D, line —
Name ,
CI Schedule E/F, line
Number Streat () Schedule G, line
* City State Zp Code
B|
C) Schedule D, line -
Name —_
C1 Schedule E/F, line
Number Street C) Schedule G, line
City State ZIP Code
|
O) Schedule D, line
Name —_
UO) Schedule E/F, line :
Number Street OI Schedule G, line
City ~_State ZIP Code
|
LJ Schedule D, line.
Name, .
‘C) Schedule E/F, line —
Number Street CY Schedule G, line
City State ZIP Code
QO Schedule D, line
Name oo 7
Q) Schedule E/F, line
Number Street Ql Schedule G, line
_Sity State- ZIP Code

SE

Official’Form 106H

Schedule H: Your Codebtors

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IMUM SEMI o ICL im OMe IcU ALAR OTU meer tc

Debtor Chaim Levilev
First Name Middle Name Last Name
Debtor 2
(Spouse If filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of
case number 6:24-bk-03843-LVV a
(If known) U) Check if this is an
amended filing

Official Form 106G
Schedule G: Executory Contracts and Unexpired Leases 12/45

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any
additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?
LJ) No. Check this box and file this form with the court with your other schedules. You have nothing else to report on this form.
CJ Yes. Fill in all of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/B).

2. List separately each person or company with whom you have the contract or lease. Then state what each contract or lease is for (for

example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and
unexpired leases.

_Person or company With:whom. you. have the contract or lease. State what the-contract or leasé is for. =
2 AMERICAN CREDIT ACCEPTANCE AUTOMOBILE
Name FINANCING
961 E MAIN STREET
Number Street
SPARTANBURG Sc 29302
City State ZIP Code
Name
Number Street
City State ZIP Code
ag
Name
Number Street
City State ZIP Code
P4
Name
Number Street
City State ZIP Code
Name
Number Street
City _ ‘State ZIP Code

Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page 1of____
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Debtor1 Chaim Levilev Case number (rinom)0-24-Dk-03843-LVV

First Name Middle Name Last Name

a Additional Page if You Have More Contracts or Leases

2

Person or company with whom you have the contract or lease - What the contract or lease is for

Name

Number Street

City State ZIP Code

Name

Number Street

City State ZIP Code

Name

Number Street

City State ZIP Code

Name

Number Street

City State ZIP Code

Name

Number Street

City State ZIP Code

Name

Number Street

City State ZIP Code

Name

Number Street

City State ZIP Code

Name

Number Street

ZIP Code

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Official Form 106G Schedule G: Executory Contracts and Unexpired Leases page__of
